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                                   11                                    UNITED STATES
                                                                         UNITED        DISTRICT COURT
                                                                                STATES DISTRICT COURT

                                   22                                 NORTHERN DISTRICT
                                                                      NORTHERN DISTRICT OF
                                                                                        OF CALIFORNIA
                                                                                           CALIFORNIA

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                                   44          WhatsApp Inc.,
                                               WhatsApp Inc., et
                                                              et al.
                                                                 al.             ,           Case No. 4:19-cv-07123-PJH
                                                                                             Case No. 4:19-cv-07123-PJH

                                                         Plaintiff(s),
                                                         Plaintiff(s),
                                   55
                                                                                             APPLICATION FOR
                                                                                             APPLICATION       ADMISSION OF
                                                                                                           FOR ADMISSION OF
                                                   v.
                                                   v.                                        ATTORNEY PRO    HAC VICE
                                   66                                                        ATTORNEY   PRO HAC  VICE
                                                                                             (CIVIL LOCAL
                                                                                             (CIVIL LOCAL RULE
                                                                                                          RULE 11-3)
                                                                                                               11-3)
                                   77          NSO Group
                                               NSO Group Technologies, Ltd. ,
                                                         Technologies, Ltd
                                                         Defendant(s).
                                                         Defendant(s).
                                   88

                                   99

                                  10
                                  10              Emmett Gilles
                                               I, Emmett Gilles                ,, an active member
                                                                                  an active member in
                                                                                                   in good
                                                                                                      good standing
                                                                                                           standing of the bar
                                                                                                                    of the bar of
                                                                                                                               of

                                  11
                                  11     Connecticut
                                         Connecticut                           ,, hereby
                                                                                  hereby respectfully
                                                                                         respectfully apply
                                                                                                      apply for admission to
                                                                                                            for admission to practice
                                                                                                                             practice pro
                                                                                                                                      pro hac
                                                                                                                                          hac

                                  12
                                  12    vice in
                                        vice in the
                                                the Northern
                                                    Northern District
                                                             District of
                                                                      of California               NSO Group
                                                                         California representing: NSO Group Technologies, Ltd.
                                                                                                            Technologies, Ltd.        in the
                                                                                                                                      in the
                     California
                  of California
                         Court
                District Court




                                  13
                                  13    above-entitled action. My
                                        above-entitled action. My local
                                                                  local co-counsel
                                                                        co-counsel in this case
                                                                                   in this      is Joseph
                                                                                           case is        N. Akrotirianakis
                                                                                                   Joseph N. Akrotirianakis           ,, an
                                                                                                                                         an
         States District




                                  14
                                  14    attorney who is
                                        attorney who is aa member
                                                           member of the bar
                                                                  of the bar of this Court
                                                                             of this       in good
                                                                                     Court in good standing
                                                                                                   standing and
                                                                                                            and who
                                                                                                                who maintains an office
                                                                                                                    maintains an office
         District of




                                  15    within the
                                               the State
                                                   State of
                                                         of California. Local co-counsel’s                197971
Northern District




                                  15    within              California. Local co-counsel's bar number is: _________________.
                                                                                                          197971
 United States




                                        Wiggin and Dana LLP                                   King & Spalding LLP
                                  16
                                  16    One Century Tower, 265 Church Street                  633 West Fifth Street, Suite 1600
Northern




                                        New Haven, CT 06510                                   Los Angeles, CA 90071
 United




                                  17
                                  17    MY ADDRESS OF RECORD
                                        MY                                                    LOCAL CO-COUNSEL'S
                                                                                              LOCAL  CO-COUNSEL’S ADDRESS OF RECORD

                                  18
                                  18    (203) 498-4353
                                        (203) 498-4353                                       (213) 443-4313
                                                                                             (213) 443-4313
                                         MY TELEPHONE ## OF RECORD
                                         MY                                                   L      CO-COUNSEL’S TELEPHONE #
                                                                                                OCAL CO-COUNSEL'S
                                                                                              LOCAL                         # OF RECORD
                                  19
                                  19
                                        egilles@wiggin.com
                                        egilles@wiggin.com                                   jakro@kslaw.com
                                                                                             jakro@kslaw.com
                                  20
                                  20     MY EMAIL ADDRESS OF RECORD
                                         MY                                                   LOCAL CO-COUNSEL'S
                                                                                              LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

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                                  22
                                  22           II am an active
                                                  am an        member in
                                                        active member    good standing
                                                                      in good standing of
                                                                                       of aa United
                                                                                             United States
                                                                                                    States Court
                                                                                                           Court or
                                                                                                                 or of the highest
                                                                                                                    of the highest court
                                                                                                                                   court of
                                                                                                                                         of
                                  23
                                  23    another
                                        another State
                                                State or the District
                                                      or the District of
                                                                      of Columbia, as indicated
                                                                         Columbia, as           above; my
                                                                                      indicated above;    bar number
                                                                                                       my bar            442464
                                                                                                                     is: 442464
                                                                                                              number is:                       .
                                  24
                                  24           A true and
                                               A true and correct
                                                          correct copy
                                                                  copy of
                                                                       of aa certificate
                                                                             certificate of good standing
                                                                                         of good standing or
                                                                                                          or equivalent
                                                                                                             equivalent official
                                                                                                                        official document
                                                                                                                                 document
                                  25
                                  25    from
                                        from said bar is
                                             said bar is attached to this
                                                         attached to this application.
                                                                          application.
                                  26
                                  26           II have been granted
                                                  have been granted pro
                                                                    pro hac vice admission
                                                                        hac vice           by the
                                                                                 admission by the Court 00
                                                                                                  Court _______ times in
                                                                                                                times in the
                                                                                                                         the 12
                                                                                                                             12 months
                                                                                                                                months

                                  27
                                  27    preceding this application.
                                        preceding this application.

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                                  28
                                         Case 4:19-cv-07123-PJH            Document 562        Filed 02/28/25        Page 2 of 2




                                   11            II agree to familiarize
                                                    agree to familiarize myself with, and
                                                                         myself with, and abide by, the
                                                                                          abide by, the Local
                                                                                                        Local Rules
                                                                                                              Rules of this Court,
                                                                                                                    of this Court, especially
                                                                                                                                   especially

                                  2
                                  2     the Standards
                                        the Standards of Professional Conduct
                                                      of Professional         for attorneys
                                                                      Conduct for attorneys and
                                                                                            and the
                                                                                                the Alternative Dispute Resolution
                                                                                                    Alternative Dispute Resolution Local
                                                                                                                                   Local

                                   33   Rules. II declare
                                        Rules.            under penalty
                                                  declare under penalty of
                                                                        of perjury that the
                                                                           perjury that the foregoing
                                                                                            foregoing is true and
                                                                                                      is true and correct.
                                                                                                                  correct.

                                   44   Dated:
                                        Dated:      2/28/2025                                          Emmett Gilles
                                                                                                       Emmett Gilles
                                                                                                       APPLICANT
                                                                                                       APPLICANT
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                                   88                                   ORDER
                                                                        ORDER GRANTING APPLICATION
                                                                              GRANTING APPLICATION

                                   99                           FOR ADMISSION
                                                                FOR ADMISSION OF
                                                                              OF ATTORNEY PRO HAC
                                                                                 ATTORNEY PRO HAC VICE
                                                                                                  VICE

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                                  11             IT IS HEREBY
                                                 IT IS HEREBY ORDERED
                                                              ORDERED THAT the application
                                                                      THAT the application of Emmett Gilles
                                                                                           of Emmett Gilles                            is
                                                                                                                                       is

                                  12
                                  12    granted, subject
                                        granted,         to the
                                                 subject to the terms
                                                                terms and
                                                                      and conditions
                                                                          conditions of
                                                                                     of Civil L.R. 11-3.
                                                                                        Civil L.R.       All papers
                                                                                                   11-3. All        filed by
                                                                                                             papers filed by the
                                                                                                                             the attorney
                                                                                                                                 attorney
                     California
                  of California
                         Court
                District Court




                                  13
                                  13    must indicate appearance
                                        must indicate appearance pro
                                                                 pro hac vice. Service
                                                                     hac vice. Service of
                                                                                       of papers upon, and
                                                                                          papers upon, and communication with, local
                                                                                                           communication with, local co-
                                                                                                                                     co-
         States District




                                  14
                                  14    counsel
                                        counsel designated in the
                                                designated in the application
                                                                  application will
                                                                              will constitute
                                                                                   constitute notice to the
                                                                                              notice to the party.
                                                                                                            party.
         District of




                                  15    Dated:
Northern District




                                  15    Dated:
 United States




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                                  16
Northern
 United




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                                                                                   UNITED STATES
                                                                                   UNITED        DISTRICT/MAGISTRATE JUDGE
                                                                                          STATES DISTRICT/MAGISTRATE JUDGE
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                                        Updated 11/2021
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